Case 1:03-cr-00297-NGG   Document 405   Filed 09/30/05   Page 1 of 6 PageID #: 706




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Case 1:03-cr-00297-NGG   Document 405   Filed 09/30/05   Page 2 of 6 PageID #: 707
Case 1:03-cr-00297-NGG   Document 405   Filed 09/30/05   Page 3 of 6 PageID #: 708
Case 1:03-cr-00297-NGG   Document 405   Filed 09/30/05   Page 4 of 6 PageID #: 709
Case 1:03-cr-00297-NGG   Document 405   Filed 09/30/05   Page 5 of 6 PageID #: 710
Case 1:03-cr-00297-NGG   Document 405   Filed 09/30/05   Page 6 of 6 PageID #: 711
